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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     DOUGLAS JOSEPH WILLIAM CRONIN
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )     No. 2:07-cr-0250 FCD
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER CONTINUING
14        v.                         )     STATUS CONFERENCE
                                     )
15   DOUGLAS JOSEPH WILLIAM CRONIN, )      Date: November 19, 2007
                                     )     Time: 10:00 a.m.
16                  Defendant.       )     Judge: Hon. Frank C. Damrell, Jr.
     _______________________________ )
17
18        It is hereby stipulated between the parties, Lawrence Brown,
19   Assistant United States Attorney, attorney for plaintiff, Daniel B.
20   Clymo, attorney for defendant BRENDA DUKE and Mary M. French,
21   Supervising Assistant Federal Defender, attorney for defendant DOUGLAS
22   JOSEPH WILLIAM CRONIN, that the Status Conference hearing date of
23   October 15, 2007, is vacated and a new Status Conference hearing date
24   of November 19, 2007, at 10:00 a.m. is hereby set.
25        This continuance is requested because counsel for defendants are
26   still in the process of ordering and reviewing medical, and other
27   records and are continuing their review of the discovery in this case,
28   including recently received audio tapes.
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 1        It is further stipulated that the period from October 15, 2007,
 2   through and including November 19, 2007, should be excluded pursuant to
 3   18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
 4   counsel and defense preparation.
 5   Dated:    October 10, 2007                Respectfully submitted,
 6
 7                                             DANIEL J. BRODERICK
                                               Federal Defender
 8
 9
                                                 /s/ Mary M. French
10                                             MARY M. FRENCH
                                               Supervising Assistant
11                                             Federal Defender
                                               Attorney for Defendant
12                                             DOUGLAS JOSEPH WILLIAM CRONIN
13
14   Dated:    October 10, 2007                /s/  Mary M. French for
                                                    Daniel B. Clymo
15                                             ________________________________
                                               DANIEL B. CLYMO
16                                             Attorney for Defendant
                                               BRENDA DUKE
17                                             per telephonic authorization
18
     Dated:    October 10, 2007                MCGREGOR W. SCOTT
19                                             United States Attorney
20
                                               /s/  Mary M. French for
21                                                  Lawrence Brown
                                               ________________________________
22                                             LAWRENCE BROWN
                                               Assistant U.S. Attorney
23                                             per telephonic authorization
24
          IT IS SO ORDERED.
25
     Dated: October 11, 2007
26
27                                       _______________________________________
                                         FRANK C. DAMRELL, JR.
28                                       UNITED STATES DISTRICT JUDGE

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